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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
   UNITED STATES OF AMERICA,
                             Plaintiff,
   v.
   JOSHUA GUNNAR OLSON,                         Criminal No. 22-cr-162
                           Defendant,
                     APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: JOSHUA GUNNAR OLSON
Detained at (custodian): ANOKA COUNTY JAIL

The government is requesting the investigating agency to transport detainee.

Detainee is:            a.)         (X) charged in this district by: Indictment
                                    Charging Detainee With: Carjacking, Felon in Possession of a Firearm, 924(c)
                or      b.)         () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
         or b.)                     ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on August 1, 2022 at 1:30 p.m. in the courtroom of The Honorable John F. Docherty.

Dated: July 29, 2022 ___s/Emily Polachek______________
                     EMILY A. POLACHEK, AUSA

                                                              WRIT OF HABEAS CORPUS

               (X )Ad Prosequendum                                      ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for
this district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and
any further proceedings to be had in this case, and at the conclusion of said proceedings to return said
detainee to the above-named custodian.

July 29, 2022
____________________________________                                                         s/David T. Schultz
                                                                                             ______________________________________
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
   A.K.A.(s) (if applicable):                                                                           Gender:        Male
   Booking or Fed. Reg.#:                                                                              DOB:           xx/xx/1991
   Facility Address:                      325 Jackson Street                                            Race:          Caucasian
                                          Anoka, MN 55303                                               FBI #:
   Facility Phone:                        763-324-5100
   Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________

 (Signature)
